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   Attorneys for Defendants
 9 Carey G. Howe, Ruddy Palacios,
   and Shunmin Hsu
10
11
12                        IN THE UNITED STATES DISTRICT COURT
13                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14     FEDERAL TRADE COMMISSION                  Case No. SACV 19-02109 JVS (ADSx)
15
            Plaintiff                            Assigned to Hon. James V. Selna
16                                               Courtroom 10C
17     v.
                                                 ORDER GRANTING CAREY G. HOWE,
18     AMERICAN FINANCIAL SUPPORT                RUDDY PALACIOS, AND SHUNMIN
                                                 HSU’S APPLICATION TO STAY
19     SERVICES INC., et al.
                                                 DISCLOSURE REQUIREMENT UNTIL
                                                 FURTHER BRIEFING OR HEARING
20          Defendants
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                                   APPLICATION RE: STAY
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 1          Having read and considered Carey G. Howe, Ruddy Palacios, and Shunmin Hsu’s
 2 Application to Stay Disclosure Requirement Until Further Briefing or Hearing, (the
 3 “Application”), and for good cause shown,
 4          IT IS HEREBY ORDERED THAT:
 5          1.    The Application is GRANTED.
 6          2.    Sections V (titled Financial Disclosures) and VI (titled Foreign Asset
 7 Repatriation) of the Ex Parte Temporary Restraining Order with Asset Freeze, Appointment
 8 of a Temporary Receiver, and Other Equitable Relief, and Order to Show Cause Why A
 9 Preliminary Injunction Should Not Issue, Dkt. No. 41, is hereby stayed pending further
10 order of the Court.
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                   15 2019
13 Dated: November ___,
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                                                         DENIED
                                               BY ORDER OF THE COURT
16
                                               Hon. James V. Selna
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                                               District Court Judge
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                                     APPLICATION RE: STAY
